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                                                                           FEB 1 2 2018
                                                                       Clerk, US District Court
                                                                         District Of Montana
                                                                                B.ilings




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

 UNITED STATES OF AMERICA,                      CR 16-107-BLG-SPW-03

                          Plaintiff,
                                                PRELIMINARY ORDER OF
           vs.                                  FORFEITURE

 JOSHUA LEE HAGEN,

                          Defendant.


      WHEREAS, in the indictment in the above case, the United States sought

forfeiture of any property of the above-captioned person, pursuant to 21 U.S.C.

§ 853, as property used or intended to be used to facilitate the violations alleged in

the indictment, or as proceeds of said violations;


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      AND WHEREAS, on November 21, 2017, the defendant entered a plea of

guilty to count I of the indictment, which charged him with conspiracy to possess

with intent to distribute and distribute methamphetamine;

      AND WHEREAS, the indictment contained a forfeiture allegation that

stated that as a result of the offenses charged in the indictment, the defendant shall

forfeit the following property:

          •   a Glock Model 23 .40 caliber handgun (serial number FBH352);

          •   a Beretta 9mm pistol Model 92Al (serial number K91402z);

          •   a Ruger P89 9mm handgun (serial number 305-67254);

         •    a Glock Model 22 .40 caliber handgun (serial number BAKL269);

         •    a Charter Arms Bulldog Pug 44 Special (serial number 51637);

         •    a Remington Model 770 7mm rifle (serial number M72050582);

         •    a Marlin .1 7 HMR caliber rifle, Model 917VS ( serial number
              94685381);

         •    a US Carbine .30 caliber rifle (serial number 78365); and

         •    a Siaga .223 caliber rifle (serial number H04161421).

      AND WHEREAS, by virtue of said guilty plea, the United States is now

entitled to possession of the property, pursuant to 21 U.S.C. § 841(a)(l), 21 U.S.C.

§ 853, and Rule 32.2(b)(2), Federal Rules of Criminal Procedure.


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       ACCORDINGLY, IT IS ORDERED:

       1.   That based upon the pleas of guilty by the defendant to count I

contained in the indictment, the United States is authorized and ordered to seize the

property described above.     This property is forfeited to the United States for

disposition in accordance with the law, subject to the provisions of to 21 U.S.C.

§ 853(n)(l ).

      2.    That the aforementioned forfeited property is to be held by the United

States in its secure custody and control.

      3.    That, pursuant to 21 U.S.C. § 853(n)(l), the United States forthwith

shall publish at least once for three successive weeks in a suitable means of general

circulation notice of this order, notice of the United States' intent to dispose of the

property in such manner as the Attorney General may direct, and notice that any

person, other than the defendant, having or claiming a legal interest in the above-

listed forfeited property must file a petition with the Court within thirty (30) days

of the final publication of notice or of receipt of actual notice, whichever is earlier.

This notice shall state that the petition shall be for a hearing to adjudicate the

validity of the petitioner's alleged interest in the property, shall be signed by the

petitioner under penalty of perjury, and shall set forth the nature and extent of the




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petitioner's right, title, or interest in the forfeited property and any additional facts

supporting the petitioner's claim and the relief sought.

      The United States may also, to the extent practical, provide direct written

notice to any person known to have alleged an interest in the property that is the

subject of the preliminary order of forfeiture, as a substitute for published notice as

to those persons so notified.

      4.   That upon adjudication of all third-party interests, this Court will enter a

final order of forfeiture, pursuant to 21 U.S.C. § 853(n), in which all interests will

be addressed.
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      DATED this      /cf? day of February, 2018.



                                  SUSANP. WATTERS
                                  United States District Court Judge




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